Case 1:23-cv-03408 Document 1-5 Filed 11/13/23 Page 1 of 4




                 EXHIBIT E
    Case 1:23-cv-03408 Document 1-5 Filed 11/13/23 Page 2 of 4




---------- Forwarded message ---------
From: Michael DuBois <michael.dubois@gocayuga.com>
Date: Wed, May 3, 2023 at 3:31 PM
Subject: Introduction
To: <Samuel.Palmiere@usdoj.gov>



Mr. Palmiere,


Good afternoon. I am the Deputy Superintendent of
Police for the Cayuga Nation Police Department. My
prior law enforcement experience includes several
years with the DeWitt, NY Police Department and
over 23 years with the FBI, having retired in 2020 as a
Unit Chief in the CID Violent Crime Section.


As you may be aware, the Cayuga Nation's historic
reservation includes areas in both NDNY and
WDNY. Recently, our agency has been granted a law
enforcement agency ORI by the DOJ, and the DOI has
accepted land into federal trust status for the Nation
within Cayuga County. We anticipate additional land
being accepted into trust status within Seneca County.
   Case 1:23-cv-03408 Document 1-5 Filed 11/13/23 Page 3 of 4




While supervising the FBI Resident Agencies in
Syracuse and surrounding cities, I was able to develop
a solid relationship with the US Attorney's Office in
NDNY. Since joining the Cayuga Nation Police
Department I've made it a point to re-establish my
relationships at NDNY, but it is my understanding that
a relationship hasn't been maintained with the
WDNY. With your assistance, we would like to
address that. In speaking with your NDNY
counterpart Jon Carr, he provided me with your
contact information so that I might reach out to you
directly.


Superintendent Mark Lincoln and I would like to
speak with you and seek your recommendations
regarding how we can properly develop our
relationship at the law enforcement level. Since we
are police officials, the office of the LEC seemed to be
a logical place for us to start.


Alternately, If you feel the US Attorney or Indian
Country designated AUSAs might prefer to engage
with Cayuga Nation Counsel or the Nation's Federal
Representative, we would be happy to pass that
messaging back to the Nation Leadership.


Regardless, we would like to engage with you and
maintain a line of communication with our WDNY
     Case 1:23-cv-03408 Document 1-5 Filed 11/13/23 Page 4 of 4


law enforcement colleagues.


If you have time to discuss this, please feel free to
telephone me at (315) 651-7590, or if you prefer, we
could travel out to meet with you directly. Right now,
we have significant availability May 16-18th, if that
might work for you.


Thank you for your time and I look forward to hearing
from you.


Cordially,
MWD

--

Michael DuBois

Deputy Superintendent of Police

Cayuga Nation Police Department

TEL (315) 651-7590

www.cayuganationpolice.com
